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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 QUANTUM TECHNOLOGY INNOVATIONS,
 L.L.C.,

                       Plaintiff,
                                                          Civil Action No. 2:23-cv-425-JRG-RSP
        v.
                                                           JURY TRIAL DEMANDED
 VALVE CORPORATION, GEARBOX
 SOFTWARE, L.L.C.,

                       Defendants.


                  UNOPPOSED JOINT MOTION FOR EXTENSION OF TIME
                      TO RESPOND TO PLAINTIFF’S COMPLAINT

        Defendant Gearbox Software, L.L.C. (“Gearbox”) and Plaintiff Quantum Technology

 Innovations, L.L.C. (“Quantum”), by and through their undersigned counsel, respectfully file this

 Unopposed Joint Motion for an Extension of Time for Gearbox to Move, Answer or Otherwise

 Respond to Quantum’s Amended Complaint filed on March 15, 2024, (Dkt. 23). The current

 deadline for Gearbox to answer the Amended Complaint is June 12, 2024. The parties have

 conferred via email and agreed to a thirty (30) day extension, making the new answer deadline

 July 12, 2024.

        This is the fourth request for an extension to answer the Amended Complaint. Good cause

 exists because Quantum and Gearbox have jointly filed a motion to sever and stay Quantum’s

 claims against Gearbox (Dkt. 29), and have jointly filed a notice in an effort to clarify that same

 motion (Dkt. 47). Extending Gearbox’s time to answer will preserve judicial resources while the

 joint motion remains pending before the Court. The requested extension has not been made for
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 purposes of delay, and should not disrupt the schedule in this case.

        Accordingly, the parties respectfully request the Court grant this unopposed motion and

 extend the deadline to move, answer or otherwise respond to the Amended Complaint up to and

 through July 12, 2024. A proposed order is attached.




  Dated: June 12, 2024

  /s/Randall Garteiser                                /s/Michael J. Sacksteder
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                                                      L.L.C.




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                              CERTIFICATE OF CONFERENCE

        The undersigned hereby represents and confirms that a conference was conducted with

 opposing counsel prior to filing this Motion and counsel indicated their agreement with the relief

 requested herein.

 Dated: June 12, 2024                                /s/Michael J. Sacksteder
                                                     Michael J. Sacksteder



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served to all counsel of record who are deemed to have consented to electronic

 service via the Court’s CM/ECF system.

 Dated: June 12, 2024                                /s/Michael J. Sacksteder
                                                     Michael J. Sacksteder
